 

 

Case |2:21-cv-06320-MCS-JC Document 78 Filed 11/11/21 Page1lof10 Page ID #:621
1 || MCGUIREWoops LLP
7 KEVIN M. LALLY (SBN 226402)
ABIGAIL G. URQUHART (SBN 310547)
3 || 355 South Grand Avenue, Suite 4200
4 Los Angeles, California 90071-3103
Telephone: (213) 457-9862
5 || E-Mail: klally@mcguirewoods.com
6 E-Mail: aurquhart@mcguirewoods.com
GEORGE J. TERWILLIGER III (Pro Hac Vice)
7|| MICHAEL FRANCISCO (Pro Hae Vice)
8 || 888 16th Street NW, Suite 500
9 Washington, DC 20006
Telephone: (202) 857-1700
10 || E-Mail: gterwilliger@mcguirewoods.com
HW E-Mail: mfrancisco@meguirewoods.com
BROOKS H. SPEARS (Pro Hac Vice)
12111750 Tysons Boulevard, Suite 1800
13 || Tysons, Virginia 22102
Telephone: (703) 712-5000
14 EMail: bspears@mcguirewoods.com
15 Attorneys for Defendants Elliott Broidy, Broidy
16 || Capital Management, LLC, and Circinus, LLC
17
18 UNITED STATES DISTRICT COURT
19 CENTRAL DISTRICT OF CALIFORNIA
20 MOSAFER INC.; MOSAFER ECOM, | CASE NO. 2:21-cv-06320-MCS-JC
INC, aiid GOMOSAFER: BROIDY DEFENDANTS AND
21 Plaintiffs COUNTERCLAIM-PLAINTIFFS’
22 v8. EX PARTE APPLICATION FOR
3 14 DAY EXTENSION OF TIME
ELLIOTT BROIDY; er al., TO RESPOND TO ABU ISSA
24 Devendants. DEFENDANTS’ MOTION TO
25 STRIKE OR DISMISS
COUNTERCLAIMS;
26 DECLARATION OF KEVIN M.
27 LALLY
28
BROIDY DEFENDANTS AND COUNTERCLAIM-PLAINTIFFS’ EX PARTE APPLICATION FOR 14 DAY EXTENSION OF TIME TO
RESPOND TO ABU ISSA DEFENDANTS’ MOTION TO STRIKE OR DISMISS COUNTERCLAIMS

 

 

 
Case

So CAN WDB Wn BR W YNPO

YN NY NY NY NY NY NY NY NY YH YK

2:21-cv-06320-MCS-JC Document 78 Filed 11/11/21 Page 2of10 Page ID #:622

TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
RECORD:

PLEASE TAKE NOTICE that Defendants and Counterclaim Plaintiffs’
Elliott Broidy (“Broidy”), Broidy Capital Management, LLC (““BCM”), and
Circinus, LLC (“Circinus”) (collectively, the “Broidy Defendants”), by and
through their attorneys of record will and hereby do, move ex parte for an order
granting Broidy Defendants’ request for a 14-day extension of their deadline to file
an opposition to Ashraf Abu Issa, Nabil Abu Issa, Abu Issa Holding WLL,
Gomosafer, Mosafer E-Com, Inc., and Mosafer Inc.’s (collectively, “Abu Issa
Defendants”) Motion to Strike or Alternatively, to Dismiss the Broidy Defendants’
California State Law Counterclaims and to Dismiss Remaining Claims (“Motion to
Strike or Dismiss”).

L: Plaintiffs seek relief on an emergency basis. As discussed below,
absent extension, the opposition to the Motion to Strike or Dismiss filed on
November 8, 2021 would be due this coming Monday, November 15, 2021. The
Motion to Strike or Dismiss is a highly complex filing raising numerous arguments
and defenses. Seven days does not provide Broidy Defendants sufficient time to
prepare an adequate response.

De As further set forth in the accompanying Declaration of Kevin M.
Lally, undersigned counsel makes this application after providing notice to Abu
Issa Defendants’ counsel pursuant to Local Rule 7-19.1. Specifically, undersigned
counsel contacted counsel for Abu Issa Defendants on November 11, 2021 stating
the Broidy Defendants’ intention to move for ex parte relief. Counsel for the Abu
Issa Defendants opposes this Motion.

Dr Counsel for the opposing parties, Ashraf Abu Issa, Nabil Abu Issa,
Abu Issa Holding WLL, Gomosafer, Mosafer E-Com, Inc., and Mosafer Inc., are

listed below:

1

 

BROIDY DEFENDANTS AND COUNTERCLAIM-PLAINTIFFS’ EX PARTE APPLICATION FOR 14 DAY EXTENSION OF TIME TO
RESPOND TO ABU ISSA DEFENDANTS’ MOTION TO STRIKE OR DISMISS COUNTERCLAIMS

 

 

 
Case

So DAN WBN KRW NO

YN NY NY NY NY NY NY NY NO KH KY YF

P:21-cv-06320-MCS-JC Document 78 Filed 11/11/21 Page 3of10 Page ID #:623

Stephen G. Larson

slarson@ larsonllp.com

Koren L. Bell

kbell@larsonllp.com

Paul A. Rigali
prigali@larsonllp.com

Jonathan D. Gershon
jgershon@larsonllp.com

LARSON LLP

555 South Flower Street, Suite 4400
Los Angeles, CA 90071

Telephone: 213.436-4888
Telephone (Bell Direct): 213.516.2468
Facsimile: 213.623-2000

4. The Broidy Defendants’ request is based upon this application, the
supporting memorandum and points of authorities, the Declaration of Kevin M.

Lally, all records and pleadings on file with this Court, and such further evidence

and argument as the Court may allow.

Dated: November 11, 2021 MCGUIREWOODS LLP

By: _s/Kevin M. Lally
Kevin M. Lally
George J. Terwilliger III (Pro Hac Vice)
Michael Francisco (Pro Hac Vice)
Brooks H. Spears (Pro Hac Vice)
Abigail G. Urquhart

2

 

 

BROIDY DEFENDANTS AND COUNTERCLAIM-PLAINTIFFS’ EX PARTE APPLICATION FOR 14 DAY EXTENSION OF TIME TO
RESPOND TO ABU ISSA DEFENDANTS?’ MOTION TO STRIKE OR DISMISS COUNTERCLAIMS

 

 
Case

CS A NDB Wn BR W NO

YN NY NY NY NY NY NY NY NY YH YK

2:21-cv-06320-MCS-JC Document 78 Filed 11/11/21 Page 4of10 Page ID #:624

MEMORANDUM OF POINTS AND AUTHORITIES

Defendants and Counterclaim Plaintiffs Elliott Broidy (“Broidy”), Broidy
Capital Management, LLC (“BCM”), and Circinus, LLC (“Circinus”)
(collectively, the “Broidy Defendants”), pursuant L.R. 7-19, file this ex parte
application for a 14 day extension of their deadline to file an opposition to Ashraf
Abu Issa, Nabil Abu Issa, Abu Issa Holding WLL, Gomosafer, Mosafer E-Com,
Inc., and Mosafer Inc.’s (collectively, “Abu Issa Defendants”) Motion to Strike or
Alternatively, to Dismiss the Broidy Defendants’ California State Law
Counterclaims and to Dismiss Remaining Claims (“Motion to Strike or Dismiss’’),
which was filed this past Monday, November 8, 2021. Ex parte relief is
appropriate as efforts to resolve the issue through stipulation with the Abu Issa
Defendants failed — notwithstanding the fact that the Broidy Defendants previously
stipulated to a 21 day continuance of the Abu Issa Defendants’ filing date for their
opposition to the Broidy Defendant’s Motion to Strike or Dismiss — and absent
such relief, its brief will be due for filing this coming Monday, November 15,
2021. Simply stated, with the full exercise of due diligence, seven days is an
insufficient period of time to properly address the numerous complex and
potentially dispositive issues raised in the Abu Issa Defendant’s Motion to Strike
or Dismiss.

The Abu Issa Defendants’ Motion to Strike or Dismiss is the latest of the
four Motions to Strike or Dismiss filed by the parties in this case. The Broidy
Defendants filed their Motion to Strike or Dismiss on October 7, 2021; and
Defendant George Nader and Defendant The Iron Group separately filed their
motions on November 1, 2021. Dkt. 44, 60-61. In all three instances, the filing
party set the hearing date at least 35 days after the filing date, thereby providing
the opposing party at least 14 days to prepare and file its response. See Judge Mark
C. Scarsi Standing Order for Civ. Cases No. 9(b). Moreover, as noted above, the

1

 

BROIDY DEFENDANTS AND COUNTERCLAIM-PLAINTIFFS’ EX PARTE APPLICATION FOR 14 DAY EXTENSION OF TIME TO
RESPOND TO ABU ISSA DEFENDANTS’ MOTION TO STRIKE OR DISMISS COUNTERCLAIMS

 

 

 
Case

Oo ANY DB Wn BR WW PO

YN NY NY NY NY NY NY NY NY YH KH

2:21-cv-06320-MCS-JC Document 78 Filed 11/11/21 Page 5of10 Page ID #:625

Broidy Defendants stipulated to a 21 day continuance extending the Abu Issa
Defendants time for preparing and filing its opposition to Defendant Broidy’s
Motion to Strike or Dismiss. Dkt. 52.

This Court consolidated the three filed motions for hearing on December 6,
2021. Dkt. 68. On November 8, 2021 — the last possible filing day on which a
noticed motion could be heard on December 6, 2021 — the Abu Issa Defendants
filed their Motion To Strike or Dismiss and set the hearing for that date, thereby
seeking to join in the consolidated motions hearing. Dkt. 77. As the hearing date is
within 35 days of the filing, the Broidy Defendants only are afforded seven days to
respond. Local Rule 7-9; see also Judge Mark C. Scarsi Standing Order for Civ.
Cases No. 9(b). This is seven days fewer than any other party was afforded to
respond to similar motions, and 28 days fewer than afforded to the Abu Issa
defendants. This plainly inequitable timing circumstance is the direct result of the
Abu Issa Defendants’ delayed filing tactics, and if left unchecked, will materially
hinder the Broidy Defendants ability to provide a fulsome response to the multiple
highly complex issues raised in the Abu Issa Defendants’ Motion to Strike or
Dismiss, which include, but are not limited to, anti-SLAPP, RICO, and conspiracy
challenges.

Prior to moving ex parte, the Broidy Defendants engaged in good faith
efforts to obtain a reasonable, stipulated extension of its filing deadline from the
Abu Issa Defendants. On November 10, 2021, counsel for the Broidy Defendants,
Michael Francisco and Kevin Lally, called Koren Bell, counsel for the Abu Issa
Defendants. Ms. Bell was unavailable and Mr. Francisco left a voicemail in which
he explained the Broidy defendants’ request for a 14-day extension and asked for a
follow-up call to discuss the matter. This morning, Mr. Francisco again called Ms.
Bell and left another voicemail. Later this morning, Ms. Bell sent an email to

counsel for Broidy Defendants in which she declined the request for an extension,

Z

 

BROIDY DEFENDANTS AND COUNTERCLAIM-PLAINTIFFS’ EX PARTE APPLICATION FOR 14 DAY EXTENSION OF TIME TO
RESPOND TO ABU ISSA DEFENDANTS’ MOTION TO STRIKE OR DISMISS COUNTERCLAIMS

 

 

 
Case

OH NY HDn Nn FB W LV

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

P:21-cv-06320-MCS-JC Document 78 Filed 11/11/21 Page6of10 Page ID #:626

citing the interference with the upcoming Thanksgiving holiday and the Abu Issa
Defendants’ desire to have all motions heard on the same day. Shortly thereafter,
Mr. Lally called Ms. Bell to discuss her position. As no response had been
received, Mr. Lally, at approximately 2:00 p.m., called Ms. Bell and advised her
that the Broidy Defendants would be moving ex parte for a continuance. Shortly
before this filing, Ms. Bell sent an email noting her clients’ opposition, citing to the
same objections that served as the basis for their refusal to stipulate to a
continuance.

Having not had the opportunity to address the issue with counsel, the
Broidy Defendants note that the Abu Issa Defendants’ Thanksgiving-based
objection is unfounded, as the requested continuance would result in the Broidy
Defendants’ filing date being November 29! and thus, any Thanksgiving-based
inconvenience would fall on them, not the Abu Issa Defendants. Second, while the
Broidy Defendants understand the requested continuance would require a
continuance of the hearing date as to the Abu Issa Defendant’s Motion to Strike or
Dismiss, it bears noting that: (1) the counterclaims include causes of actions
against distinct parties that are completely unrelated to the Abu Issa Defendants’
claims against other defendants; (2) the other individual Motions to Strike or
Dismiss, until consolidated by this Court, all contemplated individual hearing
dates; and (3) the Abu Issa Defendants motion was filed after this Court
consolidated the three other motions and at a time that necessitated an unduly
compressed filing timeframe for the Broidy Defendants. Therefore, it is the Abu
Issa Defendants, not the Broidy Defendants, who should bear any inconvenience
caused by the continuance of their hearing date. Finally, should the Court conclude
that the Abu Issa’s Defendants’ Motion to Strike or Dismiss should be heard with

the three motions it consolidated for hearing on December 6, 2021, the Broidy

 

' Thanksgiving is November 25, 2021.
3

 

 

BROIDY DEFENDANTS AND COUNTERCLAIM-PLAINTIFFS’ EX PARTE APPLICATION FOR 14 DAY EXTENSION OF TIME TO
RESPOND TO ABU ISSA DEFENDANTS’ MOTION TO STRIKE OR DISMISS COUNTERCLAIMS

 

 
Case

So A ND nO BR W NP

DO wpO Nb WN HN HP HN HK KR Re RR ee eRe eee ee
OamnAN ND Nn FBP WN KF OD ODO Wnt DB Nn BP W NY KF CO

2:21-cv-06320-MCS-JC Document 78 Filed 11/11/21 Page 7 of10 Page ID #:627

Defendants have no objection if the Court were to hear all the motions on a later
date.

This is the first request for an extension of time to respond to this brief. As
indicated, the Broidy Defendants will be prepared to file their opposition to the
Motion to Strike or Dismiss by November 29, 2021. The Abu Issa Defendants
cannot demonstrate any prejudice that they would suffer from the 14-day
extension, which would provide the Broidy Defendants 14 days fewer than they
received to respond to a similar motion. Prior to filing this application counsel for
the Broidy Defendants, pursuant to L.R. 7-19.1, called counsel for the Abu Issa
Defendants to advise them of this filing.

For the foregoing reasons, the Broidy Defendants have established good

cause for the 14-day extension and respectfully request the Court to grant this

request.

Dated: November 11, 2021 MCGUIREWOODS LLP

By: .s/Kevin M. Lally
Kevin M. Lally
George J. Terwilliger III (Pro Hac Vice)
Michael Francisco (Pro Hac Vice)
Brooks H. Spears (Pro Hac Vice)
Abigail G. Urquhart

Attorneys for ELLIOTT BROIDY
BROIDY CAPITAL MANAGEMENT, LLC
CIRCINUS, LLC

4

 

 

BROIDY DEFENDANTS AND COUNTERCLAIM-PLAINTIFFS’ EX PARTE APPLICATION FOR 14 DAY EXTENSION OF TIME TO
RESPOND TO ABU ISSA DEFENDANTS’ MOTION TO STRIKE OR DISMISS COUNTERCLAIMS

 

 
Case

Oo DN DBD A KR W NO ke

YN NY NY NY NY NY NY NY NY YH
CI AAR OND SF SOCOM IUAARAREAS

P:21-cv-06320-MCS-JC Document 78 Filed 11/11/21 Page 8of10 Page ID #628

DECLARATION OF KEVIN M. LALLY

I, Kevin M. Lally, declare as follows:

1. I am a partner at the law firm of McGuireWoods LLP and am a member
in good standing of the California State Bar and this District. I am counsel of record
for Defendants and Counterclaim Plaintiffs Elliott Broidy (“Broidy”), Broidy
Capital Management, LLC (“BCM”), and Circinus, LLC (“Circinus”) (collectively,
the “Broidy Defendants”).

2. Prior to close of business yesterday, my partner Michael Francisco and
I called Koren L. Bell at her firm listed number, 213.516.2468, to request a 14-day
extension to respond to Ashraf Abu Issa, Nabil Abu Issa, Abu Issa Holding WLL,
Gomosafer, Mosafer E-Com, Inc., and Mosafer Inc.’s (collectively, “Abu Issa
Defendants”) Motion to Strike or Alternatively, to Dismiss the Broidy Defendants’
California State Law Counterclaims and to Dismiss Remaining Claims (“Motion to
Strike or Dismiss”). Ms. Bell did not answer the phone and Mr. Francisco left a
detailed voice message explaining the need and length of time for the requested
extension and requested Ms. Bell return the call.

3.3 This morning, Mr. Francisco, having heard no response, advised me
that he called Ms. Bell to follow up on the original request. Mr. Francisco did not
receive a return phone call.

4, Ms. Bell subsequently sent an email from her firm email address
kbell@larsonllp.com to Mr. Francisco, others, and me in which she declined the
request for an extension, citing the interference with the upcoming Thanksgiving
holiday and the Abu Issa Defendants’ desire to have all motions heard on the same
day.

5. After receipt of the email, I called Ms. Bell to discuss her position. I

was unable to reach Ms. Bell directly and left a voice message. I received no

response by phone or by email.

1

 

DECLARATION OF KEVIN M. LALLY

 

 

 
Case

So Aa ND Nn FBR W NO

NON NO NO N NHN YN NN NN KNORR RRR Re Re Re Re
CoN DO UMN BP WN YF TD OO WBN WB Nn BW NYO KF CO

2:21-cv-06320-MCS-JC Document 78 Filed 11/11/21 Page 9of10 Page ID #:629

6. At approximately 2:00 p.m., I again called Ms. Bell to address the
matter and, in accordance with L.R. 7-19.1, to advise her of our intent to file an ex
parte application for a 14-day extension of time absent arriving at a mutual
agreement. I was unable to reach Ms. Bell directly and left a voicemail message.

7. At approximately 6:30 p.m., Ms. Bell emailed me her clients’
opposition to this ex parte request, in which she cited to the same grounds upon
which they earlier had refused to stipulate to a continuance.

Executed on November 11, 2021 in Los Angeles, California.

Kies ML

kis M. Lally

Z

 

DECLARATION OF KEVIN M. LALLY

 

 

 
Case 2{21-cv-06320-MCS-JC Document 78 Filed 11/11/21 Page 10of10 Page ID #:630

CERTIFICATE OF SERVICE
I certify that, on November 11, 2021, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, and sent e-mail copies to the

parties and the Court.
s/ Kevin M. Lally
Kevin M. Lally

Oo DAN Dn KR W NO Ke

NO NO NO WNP HN WN KN HN RO eR Re Re eRe ee ee
CON DWN NO BP Ww NO YK DO WN DB WN BR WW NBO fF CO

 

CERTIFICATE OF SERVICE

 

 

 
